                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION- BAY CITY

IN RE:                                        Chapter 7 Bankruptcy
                                              Bankruptcy No. 21-20908
Ilakeisa Luckado                              HON. Daniel Opperman

      Debtor
__________________________________/

                                   CERTIFICATE OF SERVICE

       I certify that on September 20, 2021, I electronically filed a Debtor’s Motion to Redeem, Exhibit,
Notice of Motion, Proposed Order to Redeem, and Proof of Service with the Clerk of the Court using the
ECF system which will send notification of such filing to the following:


   •     Randall L Frank randall.frank@gmail.com,
         MI31@ecfcbis.com;rlf@trustesolutions.net
   •     Roxane Kaye rkaye@lsem-mi.org

       And I hereby certified that I have mailed by United States Postal Service the Paper(s) to the
   following non-ECF participants:

         Elga Credit Union, 8503 Davison Road, Davison, Michigan 48423

         Dated: 9/20/2021                            LEGAL SERVICES EASTERN MICHIGAN

                                                     /s/Roxane M. Kaye________
                                                     Roxane M. Kaye (64118)
                                                     Attorney for Debtor
                                                     436 S. Saginaw Street, Ste. 101
                                                     Flint, MI 48502
                                                     (810) 272-1506
                                                     rkaye@lsem-mi.org




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